                                            Exhibit A

                      (Form of Ballot for Class 2 – General Unsecured Claims)




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                                 UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF KANSAS


In re:
                                                                                  Chapter 11
ABENGOA BIOENERGY BIOMASS OF KANSAS,
LLC,                                                                              Case No. 16-10446

                                        Debtor.


                          CLASS 2 BALLOT (GENERAL UNSECURED CLAIMS)
                     TO ACCEPT OR REJECT THE DEBTOR’S PLAN OF LIQUIDATION
                        PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


            THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS [•], 2017 AT 5:00
            P.M. (PREVAILING CENTRAL TIME).
            YOUR BALLOT MUST BE ACTUALLY RECEIVED BY THIS DEADLINE IN
            ORDER TO BE COUNTED.

This ballot (the “Ballot”) is submitted to you to solicit your vote to accept or reject the Debtor’s Plan of Liquidation
Under Chapter 11 of the Bankruptcy Code, dated April 14, 2017 (as may be amended, modified, and/or
                            1
supplemented, the “Plan”) [Docket No. •], submitted by the above-captioned debtor and debtor in possession (the
“Debtor”) and described in the related disclosure statement (as may be amended, modified, and/or supplemented,
the “Disclosure Statement”) [Docket No. •]. Copies of the Plan and the Disclosure Statement may be obtained: (i)
by contacting counsel to the Debtor, DLA Piper LLP (US), c/o David E. Avraham, 444 W. Lake Street, Suite 900,
Chicago, Illinois 60606, (312) 368-4000 (email: David.Avraham@dlapiper.com), or (ii) from the Bankruptcy
Court’s website, www.ksb.uscourts.gov, for a fee. A PACER login and password are required to access documents
on the Bankruptcy Court’s website, and these can be obtained through the PACER Service Center at
www.pacer.psc.uscourts.gov. You should review the Disclosure Statement and the Plan before you vote. You may
wish to seek legal advice concerning the Plan and the classification and treatment of your Claim under the Plan.

The Plan can be confirmed by the Bankruptcy Court and thereby made binding on you if it is accepted by the
Holders of at least two-thirds in amount and more than one-half in number of the Allowed Claims in each Class of
Claims that actually vote on the Plan and by the Holders of at least two-thirds in amount of Allowed Equity Interests
in each Class of Equity Interests that actually vote on the Plan2 and if the Plan otherwise satisfies the applicable
requirements of section 1129(a) under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy
Code”). If the requisite acceptances are not obtained, the Bankruptcy Court nonetheless may confirm the Plan if it
finds that the Plan (a) provides fair and equitable treatment to, and does not unfairly discriminate against, the Class
or Classes rejecting the Plan, and (b) otherwise satisfies the requirements of section 1129(b) of the Bankruptcy
Code.

To have your vote counted, you must complete, sign, and return this Ballot to the following address by first class
mail, overnight courier, hand delivery or electronic mail: Armstrong Teasdale LLP, c/o Christine L. Schlomann,


1
  Capitalized terms used in this Ballot or the attached instructions that are not otherwise defined have the meanings given to them
in the Plan.
2
  If no Holders of Claims in a particular Class vote to accept or reject the Plan, the Plan shall be deemed accepted by the Holders
of such Claims in such Class.



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2345 Grand Blvd., Suite 1500, Kansas City, Missouri 64108 (email: cschlomann@armstrongteasdale.com), so that it
is received by the deadline indicated above.

  NOTICE REGARDING CERTAIN RELEASE, EXCULPATION AND INJUNCTION PROVISIONS IN THE PLAN

PLEASE BE ADVISED THAT THE PLAN CONTAINS CERTAIN RELEASE, EXCULPATION AND INJUNCTION
PROVISIONS, INCLUDING:

         Article IX.B.2 of the Plan contains the following releases by Holders of Claims:

Except as otherwise provided herein each Person, other than the Debtor, who votes to accept the Plan and does not mark
such ballot to indicate a refusal to grant the release provided for in this paragraph, shall be deemed to fully, completely,
unconditionally, irrevocably, and forever release the Released Parties of and from any and all Claims and Causes of
Action and any other debts, obligations, rights, suits, damages, actions, remedies and liabilities whatsoever, whether
accrued or unaccrued, whether known or unknown, foreseen or unforeseen, existing before the Effective Date, as of the
Effective Date or arising thereafter, in law, at equity, whether for tort, contract, violations of statutes (including but not
limited to the federal or state securities laws), or otherwise, based in whole or in part upon any act or omission,
transaction, or other occurrence or circumstances existing or taking place prior to or on the Effective Date arising from
or related in any way to the Debtor and its Representatives, whether direct, derivative, accrued or unaccrued, liquidated
or unliquidated, fixed or contingent, matured or unmatured, Disputed or undisputed, known or unknown, foreseen or
unforeseen, in law, equity or otherwise.

OTHER RELEASE, EXCULPATION AND INJUNCTION PROVISIONS ARE FOUND IN ARTICLE IX OF THE
PLAN. YOU ARE ADVISED AND ENCOURAGED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE RELEASE, EXCULPATION AND INJUNCTION PROVISIONS, AS YOUR RIGHTS MIGHT BE
AFFECTED.

                       PLEASE READ THE ATTACHED VOTING INFORMATION AND
                         INSTRUCTIONS BEFORE COMPLETING THIS BALLOT.

   PLEASE COMPLETE ITEMS 1, 2, AND 3. IF THIS BALLOT IS NOT SIGNED ON THE APPROPRIATE
        LINES, THIS BALLOT WILL NOT BE VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Class Vote. The undersigned, a Holder of a Class 2 Claim against the above-captioned Debtor, in the
voting amount set forth below, votes to (check one box only):

                            Accept the Plan.                                Reject the Plan.


                              Voting Amount: $ _________________________________

Item 2. Optional Release Election. Check this box if you elect not to grant the releases contained in Article
IX.B.2 of the Plan. Election to withhold consent is at your option. If you do not check the box below opting out of
the release provisions in Article IX.B.2 of the Plan, you will be deemed to consent to the releases set forth in Article
IX.B.2 of the Plan with respect to the Released Parties.

                  The undersigned elects not to grant the releases contained in Article IX.B.2 of the Plan.

Item 3. Acknowledgments. By signing and returning this Ballot, the undersigned acknowledges receipt of the
Disclosure Statement (including the exhibits thereto) and the other applicable solicitation materials and certifies that
as of the Voting Record Date the undersigned is the Holder of the Claim set forth in Item 1 above and has the power
and authority to vote to accept or reject the Plan. To the extent the undersigned is voting on behalf of an actual
Holder of the Claim set forth in Item 1 above, the undersigned certifies that it has the requisite authority to do so and
will submit evidence of the same upon request. The undersigned also acknowledges that the solicitation and
tabulation of votes on the Plan is subject to the terms and conditions of the Disclosure Statement. The undersigned
understands that an otherwise properly completed, executed and timely returned Ballot that does not indicate either
acceptance or rejection of the Plan or indicates both acceptance and rejection of the Plan will not be counted.



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                                                               Name of Creditor


                                                                   Signature


                                                     If by Authorized Agent, Name and Title


                                                              Name of Institution


                                                                 Street Address


                                                              City, State, Zip Code


                                                        Taxpayer Identification Number


                                                              Telephone Number


                                                                 Email Address


                                                                 Date Completed




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